Case: 2:05-cv-00740-JLG-NMK Doc #: 15 Filed: 10/25/05 Page: 1 of 14 PAGEID #: 80



                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF OHIO
                            EASTERN DIVISION

Tami Taylor-Sammons,

            Plaintiff,

     v.                                    Case No. 2:05-cv-740

Dr. Manraj Bath

                              OPINION AND ORDER
     This is an action filed by plaintiff Tami Taylor-Sammons
against defendant Dr. Manraj Bath, her former employer.                       The
complaint    includes    claims    under   Ohio    law   for   breach    of   an
employment contract; promissory estoppel; sex discrimination in
violation of Ohio Rev. Code Chapter 4112, including disparate
treatment,    creating    a   hostile   work   environment,     and   wrongful
termination; intentional infliction of emotional distress; and
fraud.    The action was originally filed in the Court of Common
Pleas of Fairfield County, Ohio on June 29, 2005.                On August 3,
2005, the defendant filed a notice of removal of the action to this
court based on the theory that plaintiff’s claims are completely
preempted under the Employee Retirement Income Security Act of 1974
(“ERISA”), 29 U.S.C. §1001, et seq.         This matter is now before the
court on plaintiff’s motion to remand the action to state court.
I. Requirements for Complete Preemption under ERISA
     The provisions of 28 U.S.C. §1441 permit a defendant to remove
an action from state to federal court when the federal district
court has “original jurisdiction founded on a claim or right
arising under” federal law. 28 U.S.C. §1441(b). Peters v. Lincoln
Electric Co., 285 F.3d 456, 465 (6th Cir. 2002).                 The removing
defendant bears the burden of proving that the plaintiff’s claims
Case: 2:05-cv-00740-JLG-NMK Doc #: 15 Filed: 10/25/05 Page: 2 of 14 PAGEID #: 81



are preempted by ERISA.           Passcack Valley Hosp., Inc. v. Local 464A
UFCW Welfare Reimbursement Plan, 388 F.3d 393, 401 (3d Cir. 2004).
       In determining whether an action is removable under §1441(b),
the “well-pleaded complaint rule” usually applies.                                  Rivet v.
Regions Bank of Louisiana, 522 U.S. 470 (1998).                          Under this rule,
“a    cause    of     action    arises       under      federal    law    only     when    the
plaintiffs’ well-pleaded complaint raises issues of federal law.”
Metropolitan Life Ins. Co. v. Taylor, 481 U.S. 58, 63 (1987).                               For
removal to be appropriate, a federal question must appear on the
face of the complaint.           Franchise Tax Bd. v. Construction Laborers
Vacation Trust, 463 U.S. 1, 9-10 (1983).
       However, a “complete preemption exception” to the “well-
pleaded       complaint      rule”     has    been      recognized       in   cases       where
Congress’ intent in enacting a federal statutory scheme was to
completely preempt state law and create federal jurisdiction under
28    U.S.C.      §1331.       Peters,       285   F.3d     at    467-68.         Under   this
exception, a complaint may be removed to federal court and will be
treated as alleging a federal cause of action for purposes of
removal even though the complaint, on its fact, alleges only a
state law cause of action.               Id. at 468, n. 11.
       In regard to the removal of claims allegedly preempted by
ERISA,      the    Supreme     Court     held      in   Taylor     that     the    “complete
preemption exception” applies to a state law claim which meets two
requirements: (1) the claim “relates to” an ERISA plan within the
meaning of 29 U.S.C. §1144(a), ERISA’s preemption provision; and
(2)   the     claim    falls    within       the    scope    of    ERISA’s    enforcement
provision, 29 U.S.C. §1132(a).                 Taylor, 481 U.S. at 66; Franchise
Tax Bd. v. Construction Laborers Vacation Trust, 463 U.S. 1, 24


                                               2
Case: 2:05-cv-00740-JLG-NMK Doc #: 15 Filed: 10/25/05 Page: 3 of 14 PAGEID #: 82



(1983).     If the state law claim both “relates to” an ERISA plan
within the meaning of §1144(a) and falls within the scope of
ERISA’s civil enforcement provisions found in §1132(a), then the
state law claim is completely preempted by ERISA and converted to
a federal question for purposes of removal jurisdiction.                Taylor,
381 U.S. at 66.
     The mere fact that ERISA preemption under §1144(a) may be
raised as a defense, or is in actuality a defense, does not confer
jurisdiction or authorize removal. Taylor, 481 U.S. at 64-67 (even
if state law claim “relates to” an ERISA plan and is preempted by
§1144(a), complaint is not removable unless it is also encompassed
within ERISA’s civil enforcement scheme).            Removal and preemption
are two distinct concepts, and the mere fact that a claim is
preempted    by   ERISA   under    §1144    does   not    mean   that    it   is
automatically removable.       Wright v. General Motors Corp., 262 F.3d
610, 614 (6th Cir. 2001); Warner v. Ford Motor Co., 46 F.3d 531,
534-5 (6th Cir. 1995).      Section 1144 preemption does not create a
federal cause of action itself, and cannot convert a state cause of
action into a federal cause of action under the well-pleaded
complaint rule.      Wright, 262 F.3d at 614; Warner, 46 F.3d at 534.
     A state law claim is removable to federal court only if it is
completely preempted.       Warner, 46 F.3d at 534.         In order to come
within the well-pleaded complaint rule, the state law claim must be
capable of being characterized as an ERISA enforcement action under
§1132(a).     Id.     Thus, state law claims outside the scope of
§1132(a)(1)(B) are not subject to removal even though the state law
at issue may “relate to” an ERISA plan so as to be preempted under
§1144(a).    Wright, 262 F.3d at 614.


                                       3
Case: 2:05-cv-00740-JLG-NMK Doc #: 15 Filed: 10/25/05 Page: 4 of 14 PAGEID #: 83



     If both conditions for complete preemption are not met, the
federal court does not have subject matter jurisdiction and the
case must be remanded to state court.                Toumajian v. Frailey, 135
F.3d 648, 654 (9th Cir. 1998). In a case involving state claims not
covered by §1132(a), even if the defendant has a defense of
“conflict preemption” within the meaning of §1144(a), the district
court, being without subject matter jurisdiction, cannot rule on
the preemption issue and must remand the case to state court where
the preemption issue can be addressed and resolved.                     Id. at 655;
Wright, 262 F.3d at 615 (declining to rule on §1144(a) preemption
issue, noting that state courts are competent to decide whether
ERISA has preempted the state law claims);              Warner, 46 F.3d at 535
(federal preemption defense in nonremovable cases decided in state
court).
II. Statutory Preemption under 29 U.S.C. §1144(a)
     The first requirement for complete preemption is that the
claim fall within the scope of ERISA’s preemption provision, which
states that ERISA preempts “any and all State laws insofar as they
may now or hereafter relate to any employee benefit plan” as
defined by ERISA.      29 U.S.C. §1144(a).           ERISA preempts state laws
relating     to   “employee    benefit       plans,”    not    simply     “employee
benefits.”    Fort Halifax Packing Co., Inc. v. Coyne, 482 U.S. 1, 7
(1987).    An “employee benefit plan” includes “any plan ... or
program ... maintained by an employer ... for the purpose of
providing ... medical ... benefits, or benefits in the event of
sickness[]    29 U.S.C. §1002(1).
     For   preemption     to   occur,        there   must     be   an   ERISA   plan
implicated in the action.       However, the mere existence of an ERISA


                                         4
Case: 2:05-cv-00740-JLG-NMK Doc #: 15 Filed: 10/25/05 Page: 5 of 14 PAGEID #: 84



plan is not enough for preemption; the state law in question must
make reference to or function with respect to the ERISA plan.
Forbus v. Sears Roebuck & Co., 30 F.3d 1402 (11th Cir. 1994).                               This
court must determine whether plaintiff’s complaint seeks to enforce
an ERISA agreement or asserts rights to future benefits under an
ERISA plan.     Wright, 262 F.3d at 613-14.
      A law “relates to” an employee welfare plan if it has a
connection with or reference to such a plan.                                     FMC Corp. v.
Holliday, 498 U.S. 52, 68 (1990); Shaw v. Delta Air Lines, 463 U.S.
96-97 (1983).      State law includes “all laws, decisions, rules,
regulations, or other State action having the effect of law[.]” 29
U.S.C. §1144(c)(1).        Thus, a state law may relate to a benefit plan
for   preemption   purposes          even   if       the    law   is       not    specifically
designed to affect such plans, or the effect is only indirect.
Ingersoll-Rand Co. v. McClendon, 498 U.S. 133, 139 (1990).
       However, state law claims whose effect on employee benefit
plans is merely tenuous, remote or peripheral are not preempted.
Shaw, 463 U.S. at 100 n. 21;                  Cromwell, 944 F.2d at 1276.                      In
deciding whether state law claims are preempted by ERISA, courts
focus on the remedy sought by plaintiff.                        Lion’s Volunteer Blind
Indus., Inc. v. Automated Group Admin., Inc., 195 F.3d 803, 806 (6th
Cir. 1999).
      A state law claim only peripherally affects a plan where a
plaintiff   refers    to    a    benefit        plan       to   support          an   employment
discrimination     claim,       or    where      a    plaintiff        simply         refers   to
specific,     ascertainable          damages     by        citing      a    life      insurance
contract.   Marks v. Newcourt Credit Group, Inc., 342 F.3d 444, 452
(6th Cir. 2003).     In Marks, the court held that plaintiff’s claim


                                            5
Case: 2:05-cv-00740-JLG-NMK Doc #: 15 Filed: 10/25/05 Page: 6 of 14 PAGEID #: 85



for wrongful rejection of his termination notice to avoid paying
him funds he would otherwise be entitled to under an employee
benefit plan was not preempted where plaintiff simply sought
damages equaling the benefits he would have received under the
plan, and where the reference to plan benefits was only a way to
articulate specific, ascertainable damages.              Id. at 453.
     In Peters, the court held that a wrongful discharge claim
which included incidental damages for loss of benefits under an
ERISA-based plan was not preempted because all that was needed was
a simple mathematical calculation of benefits, and the claimed
damages thus related only peripherally to the ERISA plan.                Peters,
285 F.3d at 469.
     In Wright, 262 F.3d at 615, the court noted that plaintiff’s
reference to defendant’s life insurance plan was simply a reference
to specific, ascertainable damages she claimed to have suffered as
a proximate result of her discriminatory termination.                  The court
concluded that plaintiff’s case was not one alleging the wrongful
withholding of ERISA covered plan benefits, but instead was a
lawsuit   claiming    race   and   sex       discrimination     and   retaliation
resulting in damages, “one component of which is a sum owed under
the provision of the GM plan.”           Id.    See also Funkhouser v. Wells
Fargo Bank, N.A., 289 F.3d 1137, 1143-44 (9th Cir. 2002)(claim does
not “relate to” an ERISA plan simply because a court would refer to
the plan in calculating damages, noting that otherwise “ERISA would
preempt most garden-variety wrongful termination suits because the
value   of   employee   benefits    would       be   relevant   in    calculating
damages.”); Forbus, 30 F.3d at 1406-07 (fact that plaintiffs’
damages may be affected by calculation of pension benefits is not


                                         6
Case: 2:05-cv-00740-JLG-NMK Doc #: 15 Filed: 10/25/05 Page: 7 of 14 PAGEID #: 86



sufficient to warrant preemption); Burks v. Amerada Hess Corp, 8
F.3d 301, 306 (5th Cir. 1993), abrogated on other grounds, Giles v.
NYLCare Health Plans, Inc., 172 F.3d 332 (5th Cir. 1999)(claim that
unlawful termination resulted in loss of benefits not preempted by
ERISA).
III. Claim Within the Civil Enforcement Provisions of §1132(a)
A. Actions within Scope of §1132(a)
     The second component of complete preemption requires that this
court be able to characterize the state law claim as an ERISA
enforcement     action    under    §1132(a).        Section     1132(a)(1)(B)
authorizes a plan participant or beneficiary to bring an action “to
recover benefits due to him under the terms of his plan, to enforce
his rights under the terms of the plan, or to clarify his rights to
future benefits under the terms of the plan.”            Preemption has been
found where the plaintiff’s claims seek relief within the scope of
§1132(a). See Peters, 285 F.3d at 468-69 (breach of promises claim
preempted where plaintiff admitted in deposition that he was
seeking to clarify his rights to future benefits under ERISA plan).
     However, §1132(a) is inapplicable where plaintiff is not
seeking relief as a participant or beneficiary of the plan for
benefits due or to enforce the terms of the plan, or any other
relief provided by that section.           See Toumajian, 135 F.3d at 656-
657 (no preemption where relief sought by plaintiff did not fall
within scope of §1132(a)); Perry v. P*I*E Nationwide Inc., 872 F.2d
157, 162 (6th Cir. 1989)(no preemption where plaintiffs did not seek
plan benefits).     The mere reference to plan terms as a measure of
damages is not sufficient to convert a state law claim into one
seeking benefits from a plan.              See Wright, 262 F.3d at 614-15


                                       7
Case: 2:05-cv-00740-JLG-NMK Doc #: 15 Filed: 10/25/05 Page: 8 of 14 PAGEID #: 87



(reference to life insurance benefits lost as a result of wrongful
termination not sufficient to constitute a claim for benefits under
§1132(a)).
B. Standing
        Complete preemption occurs only if plaintiff’s claims are the
equivalent       of    an   ERISA    civil       enforcement      action.        Ward    v.
Alternative Health Delivery Systems, Inc., 261 F.3d 624, 627 (6th
Cir. 2001).       As the Supreme Court stated in Aetna Health Inc. v.
Davila,    342    U.S.      200,    124   S.Ct.        2488,    2496   (2004),     “if   an
individual, at some point in time, could have brought his claim
under     ERISA       [§1132(a)(1)(B)],          and    where    there   is   no    other
independent legal duty that is implicated by a defendant’s actions,
then the individual’s cause of action is completely pre-empted[.]”
In Aetna Health, the Supreme Court found that since the plaintiffs
could have paid for the unapproved medical treatment themselves and
then filed an action under §1132(a)(1)(B) for reimbursement of
expenses, their bad faith insurance claims were preempted.                         Id. at
2497.
     A plaintiff’s claims are not equivalent to an ERISA civil
enforcement action where the plaintiff is not a plan participant or
beneficiary with standing to assert claims under ERISA.                       Ward, 261
F.3d at 627.          Where the plaintiff lacks standing under ERISA, the
plaintiff’s state law claims do not confer federal subject matter
jurisdiction.         Id.   See also Agrawal v. Paul Revere Life Ins. Co.,
205 F.3d 297, 302 (6th Cir. 2000), abrogated on other grounds,
Raymond B. Yates, M.D., P.C. Profit Sharing Plan v. Hendon, 541
U.S. 1 (2004)(Congress did not intend to create an enforcement
mechanism to bind non-ERISA parties who are not participants or


                                             8
Case: 2:05-cv-00740-JLG-NMK Doc #: 15 Filed: 10/25/05 Page: 9 of 14 PAGEID #: 88



beneficiaries); Michigan Affiliated Healthcare System Inc. v. CC
Systems Corp. of Michigan, 139 F.3d 546, 550 (6th Cir. 1998)(claims
by anyone other than a participant or beneficiary fall outside the
scope of ERISA’s civil enforcement action and must be remanded to
state court); Zuniga v. Blue Cross and Blue Shield of Michigan, 52
F.3d 1395, 1399 (6th Cir. 1995)(claim seeking recovery of benefits
from an employee benefit plan not covered by §1132(a)(1)(B) where
plaintiff was not a plan participant or beneficiary).
       An action under ERISA may be brought by a “participant” in or
“beneficiary”    of    an   ERISA   plan.      29    U.S.C.   §1132(a)(1).     A
“participant” is “any employee or former employee of an employer
... who is or may become eligible to receive a benefit of any type
from   an   employee    benefit     plan[.]”        29   U.S.C.   §1002(7).    A
“beneficiary” is “a person designated by a participant, or by the
terms of an employee benefit plan, who is or may become entitled to
a benefit thereunder.”       29 U.S.C. §1002(8).          A former employee is
a participant under ERISA if he has “a reasonable expectation of
returning to covered employment or a colorable claim to vested
benefits.”    Firestone Tire & Rubber Co. v. Bruch, 489 U.S. 101, 117
(1989).
       In Curtis v. Nevada Bonding Corp., 53 F.3d 1023 (9th Cir.
1995), the court applied these principles to the case of an
employee who was promised health benefits, but who was diagnosed
with cancer and terminated from his employment prior to becoming
eligible to participate in the employer’s health plan.                The court
noted that the plaintiff had no reasonable expectation of returning
to covered employment in light of the defendants’ termination of
his employment, and that he had no colorable claim to benefits


                                       9
Case: 2:05-cv-00740-JLG-NMK Doc #: 15 Filed: 10/25/05 Page: 10 of 14 PAGEID #: 89



under the group health plan because he was diagnosed with cancer
before he was eligible for participation in the plan.                  Id. at 1027-
28.     The court further held that the employer’s oral promise to
provide benefits to the plaintiff was not sufficient to create a
separate employee welfare benefit plan in which plaintiff was a
participant. Id. at 1028 (noting that ERISA coverage extends to an
arrangement sufficiently specific to enable a reasonable person to
ascertain     the      intended       benefits,       beneficiaries,    source    of
financing, and procedures for receiving benefits).                        See also
International Resources, Inc. v. New York Life Ins. Co., 950 F.2d
294, 297 (6th Cir. 1992)(to determine if employment agreement is an
ERISA    plan,   the    test    is    whether     a    “reasonable    person    could
ascertain     the      intended       benefits,       beneficiaries,    source    of
financing, and procedures for receiving benefits” from reading
contract).
IV. Plaintiff’s Claims
      In her complaint, plaintiff alleges that she was employed by
the defendant from November of 20004 through February of 2005.
Complaint, ¶ 1. Plaintiff alleges that her employment was pursuant
to an oral employment contract.              Complaint, ¶ 3.     Plaintiff states
that she was “promised an increase in base pay after 30 days, and
another    increase      in    base    pay     after    6   months,    plus    health
insurance[.]” Complaint, ¶ 4.            Plaintiff was allegedly unlawfully
terminated on February 7, 2005.              Complaint, ¶ 6.
      In her first cause of action for breach of contract, plaintiff
repeats her assertion that she entered into an oral employment
contract with the defendant, under which the defendant agreed,
among other things, to provide health insurance to plaintiff.


                                          10
Case: 2:05-cv-00740-JLG-NMK Doc #: 15 Filed: 10/25/05 Page: 11 of 14 PAGEID #: 90



Complaint, ¶ 8.       Plaintiff alleges that during the course of her
employment, defendant failed to increase her base pay, failed to
give her earned bonus incentives, and failed to provide her with
health insurance.       Complaint, ¶ 9.
       In   her    second   cause   of   action     for   promissory     estoppel,
plaintiff alleges that she resigned from a more lucrative job
position to accept employment with defendant based on his promises,
including the promise that plaintiff would be provided with health
insurance.        Complaint, ¶ 12.       In her fifth cause of action for
fraud, plaintiff alleges that defendant made false statements to
induce her to enter into the employment contract, upon which
plaintiff relied to her detriment, and that defendant failed to
provide     the    promised   salary     and    benefits,    including     health
insurance.        Complaint, ¶¶ 36, 39.        Plaintiff’s third and fourth
causes of action for sex discrimination and intentional infliction
of emotional distress contain no references to health insurance
benefits.         In her prayer for relief, plaintiff seeks various
damages, including “compensation for lost pay, pension, insurance,
and other fringe benefits.”
       Plaintiff states that she is not seeking to recover benefits
from   an    ERISA    plan,   and   that      her   claims   are   not    properly
characterized as amounting to an enforcement action under ERISA.
Rather, plaintiff argues that health insurance and other fringe
benefits are merely components of her breach of contract and sex
discrimination claims.         The face of the complaint also indicates
that plaintiff was never an ERISA participant or beneficiary.
Plaintiff alleges that the defendant never provided her with health
insurance, and she was only employed by the defendant for a period


                                         11
Case: 2:05-cv-00740-JLG-NMK Doc #: 15 Filed: 10/25/05 Page: 12 of 14 PAGEID #: 91



of three months.        The record fails to identify any ERISA plan in
which     plaintiff    was   a     participant     or    beneficiary.             Since
plaintiff’s    employment        was    terminated,     she   has   no    reasonable
expectation    of     returning    to    covered   employment.           She    has   no
colorable claim to benefits because she was never provided with
health insurance.       There is no indication in the record that she
was a participant in or beneficiary of any ERISA plan.                         In other
words, there is no support in the record for a finding that
plaintiff “at some point in time, could have brought [her] claim
under ERISA [§1132(a)(1)(B)].”             Aetna Health, 124 S.Ct. at 2496.
Since plaintiff is not an ERISA participant or beneficiary, she
lacks standing to bring an enforcement action under ERISA, and her
state law claims may not be characterized as an ERISA enforcement
action.
      Defendant relies on Bhandari v. Unison Behavioral Health
Group, Inc., 338 F.Supp.2d 818 (N.D.Ohio 2004).                In that case, the
plaintiff sued his employer for the refusal to provide benefits
under the terms of a written employment contract which was found by
the court to be sufficient to constitute an ERISA plan.                        Bhandari
is distinguishable because the plaintiff in that case actually
received health insurance coverage pursuant to his employment
agreement for over a year before he was involuntarily demoted and
lost benefits.        Thus, the standing of the plaintiff to bring a
claim for benefits as a plan participant was not at issue in that
case.   In the present case, plaintiff was never a plan participant
because she was never provided with health insurance.
      The court concludes that an essential prerequisite for removal
based on complete preemption under ERISA has not been satisfied in


                                          12
Case: 2:05-cv-00740-JLG-NMK Doc #: 15 Filed: 10/25/05 Page: 13 of 14 PAGEID #: 92



this case.    Plaintiff’s claims cannot reasonably be characterized
as an enforcement action under §1132(a).                 Plaintiff does not seek
to recover benefits from an ERISA plan, and                   plaintiff does not
have standing as a plan participant or beneficiary to bring an
enforcement action under ERISA.                Since plaintiff’s claims do not
constitute    a   civil    enforcement          action    under   ERISA,   complete
preemption is lacking, and this court does not have subject matter
jurisdiction over plaintiff’s claims. Plaintiff’s motion to remand
this case to state court is granted.                  This court will not address
the issue of whether plaintiff’s claims “relate to” an ERISA plan
under §1144(a), and will leave that matter for the state court to
resolve on remand.        This case is hereby remanded to the Court of
Common Pleas of Fairfield County, Ohio.
V. Attorney’s Fees
      Plaintiff has requested an award of attorney’s fees pursuant
to 28 U.S.C. §1447(c).       That section provides in relevant part:
      If at any time before final judgment it appears that the
      district court lacks subject matter jurisdiction, the
      case shall be remanded. An order remanding the case may
      require payment of just costs and any actual expenses,
      including attorney fees, incurred as a result of the
      removal[.]

An award of attorney’s fees under that section rests within the
sound discretion of the court.             Morris v. Bridgestone/Firestone,
Inc.,   985   F.2d   238,    240   (6th        Cir.    1993)(upholding     award   of
attorney’s fees upon remand in ERISA case where district court
found that wrongful termination claims based on discrimination and
breach of contract were not preempted).                  A finding of an improper
purpose is not required to support an award of fees.                         Id.   A
district court abuses its discretion by refusing to award fees


                                          13
Case: 2:05-cv-00740-JLG-NMK Doc #: 15 Filed: 10/25/05 Page: 14 of 14 PAGEID #: 93



where the defendant’s argument for removal was “‘devoid of even
fair support.’”      Bartholomew v. Town of Collierville, Tenn., 409
F.3d 684, 687 (6th Cir. 2005)(quoting Ahern v. Charter Township of
Bloomfield, No. 97-1187 (unpublished), 1998 WL 384558 at *2 (6th
Cir. June 18, 1998)).
      This court concludes that the defendant’s argument for removal
in this case was “devoid of even fair support.”              Defendant relies
on Bhandari as a basis for removal, but that case is clearly
distinguishable from the case at bar.           Based on the Sixth Circuit
and Supreme Court precedent discussed above, defendant should have
been aware that plaintiff’s complaint did not present a reasonable
argument    for   removal    based    upon    complete    ERISA    preemption.
Plaintiff’s request for attorney’s fees and costs in connection
with the removal is granted.           Plaintiff shall file an itemized
statement of attorney’s fees and costs with the court no later than
thirty days from the date of this order.
      It is so ordered.


Date: October 24, 2005                 s\James L. Graham
                                  James L. Graham
                                  United States District Judge




                                       14
